1. There being no evidence connecting the deceased with the infliction of any wound upon Willie George Crawford, it is not cause for the grant of a new trial that the judge withheld from the jury testimony to the effect that Crawford, who was present when the killing occurred, had a wound on him, and that blood was found in the seat of the car in which he rode.
2. In view of the entire testimony, it was not erroneous to charge the jury that the defendant was either guilty of murder or guilty of no offense.
3. It was not erroneous to charge on the law of confessions, the defendant having admitted the killing and having stated no circumstance of justification or excuse. Daniel v. State,  187 Ga. 411 (4), 413 (1 S.E.2d 6).
4. The ground of newly discovered evidence, even if otherwise meritorious, was fatally defective in that the supporting affidavits required by the Code, § 70-205, were lacking.  Burge v. State, 133 Ga. 431 (2) (66 S.E. 243).
5. The verdict was supported by the evidence, and no error appears in the refusal to grant a new trial.
Judgment affirmed. All the Justices concur.
                     No. 14175. SEPTEMBER 22, 1942.
Annie Lee Hixson was convicted of the murder of Clarence Pearce. Witnesses for the State testified, in effect, that the accused, Pearce, and others, who had been riding in an automobile, alighted; and after some conversation in which Pearce made a proposal to her, and she declined it on the ground that he had not offered her "enough," the accused was heard to say, "You call yourself bad. I ought to get rid of you now," and about that time she stabbed him with a knife, the weapon entering his left chest. *Page 569 
When she stabbed him she asked a witness to take her to town, and "to tell her mama that she had done stuck her boy." Clarence died shortly thereafter, as a result of the wound. An officer testified that after her arrest the accused made a statement freely and voluntarily, which was reduced to writing and signed by her, in which she said she stabbed Clarence with a black-handled knife. She said, "Clarence and I were out of the car at this time Somebody else was out of the car too, but I don't know who it was. Clarence offered me a dollar to go in the cornfield with him, and I told him that I would not go. We stood there and jawed for a while, and Clarence shoved me and hit me on the right side of my face with his hand. I then opened my knife and stabbed him. I know that I stabbed him one time, and I might have stabbed him two times. I did not ever see Clarence with any knife or any other kind of weapon. I would not have stabbed Clarence for anything, if I had not been drunk. Even if he had hit me, if I had been sober I wouldn't have stabbed him." In her statement to the jury she said that one Willie George did the stabbing; that she never had any trouble with the deceased. The jury returned a verdict of guilty, with a recommendation. A motion for new trial was overruled, and she excepted.